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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

Dana Nessel, Attorney General for the State
of Michigan,

      Plaintiff,                              Case No.: 2:20-cv-12713

             v.                               Hon. Laurie J. Michelson

Go to Gifts, Inc.,

      Defendant.

________________________________________________________________

                          NOTICE OF APPERANCE

      Please take notice that attorney Amanda Osorio of Revision Legal, PLLC,

has entered her appearance as counsel for Defendant in this matter.


Dated: October 13, 2020               /s/ Amanda Osorio
                                      Amanda Osorio (P79006)
                                      Counsel for Defendant
                                      Revision Legal, PLLC
                                      444 Cass St. Ste. D
                                      Traverse City, MI 49684
                                      amanda@revisionlegal.com
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                             Certificate of Service

      The undersigned certifies that a copy of the foregoing Notice of Appearance

was served on all counsel of record through the Court’s ECF system.


Dated: October 13, 2020              /s/ Amanda Osorio
                                     Amanda Osorio
                                     Counsel for Defendant
                                     Revision Legal, PLLC
                                     444 Cass St. Ste. D
                                     Traverse City, MI 49684
                                     amanda@revisionlegal.com
